






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00309-CV







John Koo-Hyun Kim, Appellant


v.


Judge Lee Yeakel, Andrew Austin, Jung-Kuen Kim, Tae-Sik Lee, Steve McCrow, 

Johnny Sutton, Gary L. Anderson, Anthony Brown, Michael Chertoff, 

Alberto Gonzales, and Judge Margaret Cooper, Appellees







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 353RD JUDICIAL DISTRICT

NO. D-1-GN-07-000665, HONORABLE MARGARET A. COOPER, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant filed his notice of appeal on May 21, 2007.  On December 27, 2007,
appellees informed this Court that on March 23, 2007, the underlying cause was removed to and is
currently pending in federal court.  Appellees attached copies of both the notice of removal and an
order signed by the federal court on April 19, 2007, denying appellant's motion to
reconsider&nbsp;the&nbsp;removal.

	Once a case is removed to federal court, state courts may not take any further action. 
28 U.S.C.A. § 1446(d) (West 1994); Meyerland Co. v. Federal Deposit Ins. Co., 848 S.W.2d 82, 83
(Tex. 1993).  We therefore abate the cause and will treat it as a closed case.  The cause may be
reinstated if a party files a prompt motion showing that the cause has been remanded to state court
or informing us that the case has been concluded at the federal level.


					__________________________________________

					David Puryear,  Justice

Before Justices Patterson, Puryear and Henson

Abated

Filed:   February 22, 2008


